DocketCase:
       Entries4:13-cv-00083-CAS
                Results         Doc. #: 1-1 Filed: 01/15/13 Page: 1 of 7 PageIDPage
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                  I    1222-AC18482         -   SOPHORNIA HARRIS V TORRES CREDIT SERVICES (E-CASE)                                               I
         Case         Parties &   Docket        Charges Judgments          Seruice       Filings     Scheduled                    Civil   Garnishment&
         Header       Attorney:   Entries          & Sentences           Info rrnation    flue     Hearings t Trial:        Judgnients      Execution
                                      This information is provided as a service and is not considered an official court record.
                                                            Sort Date Entries:      ° Descending                      Display Options: All Entries
                                                                                   Ascending

 01/03/2013             Hearing Scheduled
                          Scheduled For: 01/31/2013: 9:30AM CHRISTOPHER EDWARD MCGRAUGH; City of St. Louis
                        Hearing Continued/Rescheduled
                          Hearing Continued From: 01/07/2013: 9:30AM Hearing

 12/04/2012             Motion Filed
                        Summons not issued for special process server because the server requested was not on the approved list, and
                        neither was the request signed by the judge.
                        Summons Issued-Associate
                        Document ID: 12-ASOS-264, for TORRES CREDIT SERVICES INC.

 11/27/2012             Hearing Scheduled
                           Associated Entries: 01/03/2013 Hearing Continued/Rescheduled
                                                                    -



                           Scheduled For: 01/07/2013; 9:30AM: CHRISTOPHER EDWARD MCGRAUGH: City of St. Louis
                        Pet Filed in Associate Ct
                        Judge Assigned
 Case,net Version 5,13.1.0                                              Return to Top of Page                                              Released 10/25/2012




                                                                                                                                               EXHIBIT A
Imps ://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                         1/1 5/2013
       _______________________________
                _____________________________________
                __________________________________________________
                          ______________________________________
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                IN TIlE 22ND              JUDICIAL CIRCUIT COURT, CITY OF ST LOUIS, MISSOUffl




Judge or Division:                                                       Case Number: 1222-AC18482
CALEA STOVALL.REID
PlaintiffYPetitioner:                                                    Plaintiff sfPetitioner’s Attorney/Address or
SOPHORNIA ii.?IUUS                                                       Pro Se’s Address/Telephone Number:
                                                                         JAMES WINDSOR EASON
                                                                  VS
                                                                         I NORTH TAYLOR
DefcndaotlRespondent:
                                                                         SAINT LOUIS, MO 63108
TORR.ES CREDIT SERVICES                     iNC

Nature of Suit:                                                          Date, Time and Location of Court Appearance:
 AC Other Tort                                                           07-JAN-2013 09:30 AM
                                                                         Division 27
                                                                         CIVIL   COURTS BUILDING

                                                                         10 N TUCKER BLVD
                                                                         SAINT LOUIS, MO              63101



                                                                                                                                                  (Date File Stamp)
                               Summons for Personal Service Outside the State of Missouri
                                                                   (Associate Division Cases)
 The State of Missouri to:       TORRES CREDIT SERVICES INC

  DAVID BUCHERORRAGT

  CARIJSLE, PA 17013
                                             You are summoned to appear before this Circuit Court, Associate Division on the date, time and location above, to
                                         answer the allegation in the petition filed by the abovenamed Plaintiff/Petitioner, a copy of which is attached If you
         COURT SEAL OF
                                         fail to appear at the time and ptace stated in this summons, judgment by default will be taken against you for the relief
                                         demanded in the petition. If you have a disability requiring specia’ assistance for your court appearance, please contact
         ‘    “
                         ‘ti             the court at least 48 hours in advance of scheduled hearing.




        CITY OFSTLOUJS                                December 4, 2012
                                                           Date                                                                Clerk
                                         Further lnfomntion:
                                                        Officer’s or Server’s Affftlavit of Service
        Note to serving officer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                                    appear in court.
    -   I certify that:
         I. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
        2.    My official title is                                              of_______________________ County,                           (state)
        3,    I have served the above summons by: (check one)
               El     delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
               i.:i   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                               a person of the Defendant’s/Respondent’s family over the age of 15 years.
               El     (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                 (name                                                                    (title).
               El     other (describe)

        Served at                                                                                                                                         (address)
        in                                          County,                             (state), on                           (date) at                   (time),

                         Printed Name of Sherift’or   Server                                                   Signature of Sheriff or Server




OSCA (7-09) SM7O (ASOS) For Cou,-( Use Only: Dcc ID# 12-ASOS-264                                  I      (1222-ACIS4S2)                     Rules 54.06, 54.07, 54.14, 54,20;
                                                                                                                                           505.500, 506.510, 5 17.041 RSMo
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                                       IN THE CIRCUIT COURT
                                           ST. LOUIS CITY
                                         STATE OF MISSOURI


SOPHORNIA HARRIS

Plaintiff,
                                        ASSOCIATE DIVISION

                                                         )
                                                         )

                                                         )       Case No.
                                                                             ‘N
                                                         )
TORRES CREDIT SERVICES, INC.
                                                                 Division
Defendant.                                               )
Serve Defendant at:
David Bucher or Registered Agent
27 Fairview Street                                               JURY TRIAL DEMANDED
Carlisle, PA 17013                                       )
                                               PETITION

         COMES NOW, Plaintiff, Sophornia F-ferris, and for her Petition states as follows:

                                            INTRODUCTION

         I   -   This is an action for statutory damages brought by an individual consumer for

violations of the Fair Debt Collections Practices Act, 15 USC 1692 et. Seq. (“FDCPA”), which

prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

         2.      This Is an action for statutory damages brought by an Individual consumer for

violations of the Telephone Consumer Protection Act of 1991 (“TCPA”), 47 USC 227 et. seq.

         3.      Plaintiff demands a jury trial on all issues so triable.

                                                JURISDICTION

         4.      This Court has jurisdiction of the FDCPA claim under 15 USC 1692k(d). Venue

is appropriate in this Court because Defendant aimed its collection activity and committed the

vioiations of the FDCPA described herein at and in St. Louis City, Missouri.

         5.      This Court has jurisdiction of the TCPA claim under 47 USC 227 (3)(b).



                                                    I
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                                                 PARTIES

        8.     Plaintiff is a natural person currently residing in St. Louis City, Missouri, Plaintiff

is a oonsumer” within the meaning of the FDCPA. The alleged debt Plaintiff owes arises out of

consumer, family, and household transactions.

        7.     Specifically, the alleged debt arises out of Plaintiffs use of utilities provided by

Ameren.

        8.     Defendant is a foreign corporation registered in Pennsylvania with its principal

place of business In Carlisle, PA.

        9.     The principal business purpose of Defendant is the collection of debts in Missouri

and nationwide, and Defendant regularly attempts to collect debts alleged to be due another.

        10.    Defendant is engaged in the collection of debts from consumers using the mail

and telephone. Defendant is a “debt collector” as defined by the FDCPA.

                                                   FACTS

        11.    Defendant began collection activity with Plaintiff in February, 2012 when

Defendant reported the debt against Plaintiff’s credit. The collection activity also consisted of

several telephone calls to Plaintiff’s cellular phone ending in 3179.

        12.    Plaintiff never provided permission or otherwise authorized Defendant to call her

cellular phone by any means, and specifically never authorized Defendant to contact her with an

autodlaler.

        13.    Each of Defendant’s calls placed to Plaintiff were placed using an automatic

telephone dialing system with the capacity to store, generate, and dial telephone numbers.

        14.    In August of 2012, Plaintiff reviewed her credit report and noticed Defendant had

reported a delinquent debt against her in February, 2012.

        15.    Plaintiff was surprised by this, as she had never received anything in writing from

Defendant and had no knowledge of the supposed debt,

                                                  2
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        16.     Plaintiff believes Defendant was calling her cellular phone prior to August of 2012

but Defendant never left a message wherein Defendant identified itself. As such, Plaintiff did

not recognize Defendant’s number and had no idea as to why Defendant was calling.

        17.     In mid-August, 2012, Plaintiff telephoned Defendant and inquired about the debt.

Specifically, Plaintiff wanted to know if Defendant had ever mailed her anything about the debt.

        18.     Defendant conceded that it had never mailed Plaintiff anything.

        19.     Defendant also conceded that it had been reporting the debt against Plaintiff’s

credit for months.

        20.     Despite the fact that Defendant had never mailed Plaintiff anything containing

Plaintiff’s 15 U.S.C.   § 1692g dispute rights,   Defendant told Plaintiff that she had to pay the debt

by the end of the month- well within the thirty day dispute period provided for by 1692g.

        21.     Defendant’s conduct overshadowed PlaTntiff’s right to dispute the debt.

        22.     Defendant’s aggressive and premature credit reporting of the debt is an unfair

and oppressive collection tactic,

        23.     Defendant’s conduct caused Plaintiff to believe that she had no right to get

verification of or dispute the balance Defendant was attempting to collect.

        24.     Plaintiff has experienced mental anguish and worry as a result of Defendant’s

actions.

               COUNT I: VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT

        25.     Plaintiff re-alleges and Incorporates by reference all of the above paragraphs.

        26.     In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the FDCPA, 16 USC 1692 at. seq., including, but not limited to, the following:

        a.      Overshadowing Plaintiff’s rights pursuant to 15 USC       § 1692g.
        b.      Using deceptive, unfair or unconscionable means to collect or attempt to collect

the alleged debt. 15 USC 1692d-f.

                                                     3
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        c.       Engaging in conduct that the natural consequence of which is to harass, oppress,

or abuse Plaintiff in connection with the collection of a debt. 15 USC   §   1692d.
        WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        Judgment that Defendant’s conduct violated the FDCPA;

        B.       Actual damages;

        C.       Release of the alleged debt;

        D.       Statutory damages, costs and reasonable attorney’s fees pursuant to 15 USC

        1692(k); and

        E.       For such other relief as the Court may deem just and proper.

                                   COUNT II: VIOLATION OF THE TCPA

       27.       PlaintIff re-alleges and incorporates by reference all of the above paragraphs.

       28.       In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the TCPA, 47 Usc 227 et. seq., Including, but not limited to, the following:

       a,        By placing non-emergency phone calls to PlaintifPs cellular phone without

       express authorized consent of the Plaintiff, causing Plaintiff to be charged for incoming

       calls. 47 USC 227(b) (1) (A) (lii).

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       A.        Judgment that Defendant’s conduct violated the TCPA;

       B.        Actual damages;

       C.        Statutory damages pursuant to 47 USC (b)(3); and

       D,        For such other relief as the Court may deem just and proper.




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                                   EASON & VOYTAS, LLC



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                                  RICHA D A. VOYTAS, #52046
                                  EASON & VOYTAS, LLC
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